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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

   HOWARD COHAN,

              Plaintiff,

   v.                                                   Case No. 2:14-cv-223-FtM-29DNF

   GULF COAST COMMERCIAL
   CORPORATION,

              Defendant.


                               DEFENDANT’S ANSWER
                             AND AFFIRMATIVE DEFENSES

         Defendant, Gulf Coast Commercial Corporation, answers the Complaint filed by

  Plaintiff, Howard Cohan (“Cohan”), as follows:

                               JURISDICTION AND VENUE

         1.        Defendant admits that the Court has jurisdiction over this action. The

  remaining allegations contained in the paragraph are denied.

         2.        Defendant admits that venue is proper in the Fort Myers Division of the

  United States District Court for the Middle District of Florida.

                                          PARTIES

         3.        Without knowledge and, therefore, denied.

         4.        Defendant admits that it is the owner of the Premises and the

  improvements located on the Premises. The remaining allegations contained in the

  paragraph are denied.
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         5.     Admitted.

         6.     Without knowledge and, therefore, denied.

         7.     Without knowledge and, therefore, denied.

         8.     Without knowledge and, therefore, denied.

          VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         9.     Defendant adopts its responses to paragraphs 1-8, above.

         10.    Admitted.

         11.    Neither admitted nor denied as the alleged findings of Congress related to

  the Americans with Disabilities Act (“ADA”) are contained within the ADA.

         12.    Neither admitted nor denied as the alleged purposes of the ADA are

  contained within the ADA.

         13.    Defendant admits that it is a public accommodation for purposes of the

  ADA.

         14.    Denied.

         15.    Without knowledge and, therefore, denied.

         16.    Without knowledge and, therefore, denied.

         17.    Admitted.

         18.    Denied.

         19.    Defendant denies that it has committed the violations identified in

  paragraph 18 of the Complaint.

         20.    Without knowledge and, therefore, denied.

         21.    Denied.
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          22.      Defendant denies that it has failed to make the Premises accessible in

  accordance with the provisions of the ADA.

          23.      Without knowledge and, therefore, denied.

          24.      Denied.

          25.      Without knowledge and, therefore, denied.

          26.      Defendant admits that the Court has authority under the ADA to provide

  injunctive relief, but Defendant denies that injunctive relief is appropriate or warranted in

  this instance.

          27.      All allegations not specifically addressed above are denied.

                                 AFFIRMATIVE DEFENSES

                                    First Affirmative Defense

          To the extent the barrier removals or remedies requested are not readily

  achievable, as that term is defined in the Americans with Disabilities Act, Defendant is

  not required to undertake them.

                             REQUEST FOR ATTORNEY’S FEES

          Defendant requests an award of its attorney’s fees incurred in defending against

  Plaintiff’s claims under the provisions of the ADA. 42 U.S.C. § 12205.
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              WHEREFORE, Defendant respectfully requests that the Court enter judgment in

  favor of Defendant finding that Defendant has no liability to Plaintiff and awarding

  Defendant its costs, attorney’s fees and such other relief as the Court deems proper.



                                                CHEFFY PASSIDOMO, P.A.

                                                /s/ Andrew H. Reiss
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                                                Attorneys for Defendant


                                 CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on June 3, 2014, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system which will send a notice of

  electronic filing to Jason Weiss, Esq. of the Law Offices of Weiss Law Group, P.A.




                                                /s/ Andrew H. Reiss
                                                Andrew H. Reiss


  99-0008-8
